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              EXHIBIT 11
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

BRIANNA BOE, et al.,                     )
                                         )
        Plaintiffs,                      )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
        Intervenor Plaintiff,            )
                                         )
v.                                       ) Civil Action No. 2:22-cv-184-LCB
                                         )
HON. STEVE MARSHALL, in his              )
Official capacity as Attorney General,   )
of the State of Alabama, et al.,         )
                                         )
        Defendants.                      )

                       CORRECTED EXPERT REPORT OF
                           GEETA NANGIA, M.D.
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        I, Geeta Nangia, MD, have been retained by counsel for the Defendants in

connection with the above captioned litigation.

1.      I have been asked by counsel for the Defendants to provide my expert opinion

        on the diagnosis and treatment of gender dysphoria in minors as it relates to

        Alabama SB184.

2.      I am over the age of 18. I have actual knowledge of the matters stated herein.

        If called to testify in this matter, I would testify truthfully and based on my

        expert opinion. I am being compensated at an hourly rate of $350.00 per hour

        for documentation and $550.00 per hour of testimony that I devote to this case.

        My compensation does not depend on the outcome of this litigation, the

        opinions that I express, or the testimony that I provide.

                         BACKGROUND AND QUALIFICATIONS

3.      I am a Board-Certified Child and Adolescent Psychiatrist, and Board-

        Certified Adult Psychiatrist.    I obtained my B.A. in Biochemistry and

        Molecular Biology from Boston University and my M.D. from Boston

        University School of Medicine. I graduated with the Ruth Hunter Johnson

        Prize in Psychiatry. My residency and fellowship training, in Psychiatry and

        Child and Adolescent Psychiatry, respectively, were at The Medical

        University of South Carolina (MUSC). I completed my fellowship in 2007.

4.      I have been active in teaching medical students and residents throughout my


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        career and received the Circle of Excellence in Teaching at MUSC. In recent

        years, my clinical lectures have focused on child and adolescent development.

5.      I have worked in the field of Child and Adolescent Psychiatry as a community

        psychiatrist in a wide range of settings, providing comprehensive psychiatric

        services for children and families.        I chose to work as a community

        psychiatrist because I desired to evaluate and treat a wide range of mental

        health disorders and wanted to see young people in the context of their

        families and community “systems” (e.g., schools, extracurriculars, local

        supports). Throughout my career I have worked in rural, urban, and suburban

        areas, and in outpatient, inpatient, partial, as well as residential care settings.

        I have been very active in school consultations and advocating on a

        community level for mental health accommodations for youths in school. I

        have worked toward providing access to mental health care for youths who

        are underfunded and lack services due to barriers of access and cost. I have

        provided    psychiatric    evaluations,     psychotherapy,     and     medication

        management for children and adolescents, as well as family therapy. I have

        been a part of multiple interdisciplinary teams.

6.      Much of my career has been spent educating, equipping, and supporting

        families of children who struggle with depression, anxiety, and other mental

        health issues by stressing the importance of attachment between parents and


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        children. I believe that an attachment-centered approach to therapy helps

        children to find their homes as a safe place to connect, where they feel

        nurtured, supported, and loved. It is connection and secure attachment to safe

        caregivers that form the foundation for healthy childhood development,

        allowing a child to successfully progress through the developmental trajectory

        toward identity consolidation.

7.      I continue to provide community mental health care through my private

        practice and am providing this opinion as a child psychiatrist working in

        private practice.

8.      Over the course of my career, seeing a broad range of psychiatric disorders, I

        have treated many patients with active gender dysphoria or a history of gender

        dysphoria. Per my best reflection, I’d estimate that 550 of these have been

        minors. As discussed below, the modalities of care that I have utilized with

        minor patients who have gender dysphoria include supportive and exploratory

        (psychodynamic) therapy, family therapy, and psychopharmacology. The

        latter has only been used if children and adolescents are also struggling with

        mental health disorders such as depression or anxiety. I have collaborated

        with others in the community to garner a network of support for my patients,

        when deemed appropriate.

9.      Given the nature of being a community child psychiatrist, I have the benefit


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      of being involved with children’s health care not only in my office, but also

      with their families, schools, and outside support systems. This provides me

      with the ability to have a more complete perspective on their development,

      and the interventions that produce the best outcomes for their overall

      wellbeing.

10.   My medical opinion below is based upon my training and clinical experience

      as a Child and Adolescent Psychiatrist, my knowledge of child development,

      and review of the literature (including standards) on this subject. I may wish

      to supplement my opinions or the bases for them as new research is published

      or in response to statements made in my area of expertise.

11.   My previous expert witness testimony has been regarding abuse and trauma,

      and interventions for children struggling with mental health disorders. I also

      submitted a written report in Dekker v. Marstiller, No. 4:22-cv-325-RH-MAF

      (N.D. Fla.).

12.   For medicolegal purposes, I have also, throughout my career in mental health,

      served as a designated examiner for persons during inpatient hospitalizations,

      and as part of this process, I have performed numerous capacity assessments

      and presented them to courts.




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                                 GENDER DYSPHORIA

I.      Diagnostic Criteria

13.     Gender dysphoria in adolescents is defined by the DSM-5-TR as: A marked

        incongruence between one’s experienced/expressed gender and assigned

        gender, of at least six months duration, as manifested by at least two or more

        of the following:

        ● A marked incongruence between one’s experienced/expressed gender and

           primary and/or secondary sex characteristics (or in young adolescents, the

           anticipated secondary sex characteristics)

        ● A strong desire to be rid of one’s primary and/or secondary sex

           characteristics   because   of   a   marked   incongruence     with   one’s

           experienced/expressed gender (or in young adolescents, a desire to prevent

           the development of the anticipated secondary sex characteristics)

        ● A strong desire for the primary and/or secondary sex characteristics of the

           other gender

        ● A strong desire to be of the other gender (or some alternative gender

           different from one’s assigned gender)

        ● A strong desire to be treated as the other gender (or some alternative gender

           different from one’s assigned gender)




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      ● A strong conviction that one has the typical feelings and reactions of the

         other gender (or some alternative gender different from one’s assigned

         gender)

      The condition is associated with clinically significant distress or impairment

      in social, occupational, and other important areas of functioning. (DSM-5,

      TR)

14.   According to the American Psychiatric Association, gender dysphoria often

      begins in childhood, but some individuals may not experience it until puberty

      or much later. (DSM-5-TR)

15.   The DSM-5-TR defines gender dysphoria in children as a marked

      incongruence between one’s experienced/expressed gender and assigned

      gender, lasting at least six months, as manifested by at least six of the

      following (one of which must be the first criterion):

      ● A strong desire to be of the other gender or an insistence that one is the

         other gender (or some alternative gender different from one’s assigned

         gender)

      ● In boys (assigned gender), a strong preference for cross dressing or

         simulating female attire; or in girls (assigned gender), a strong preference

         for wearing only typical masculine clothing and a strong resistance to the

         wearing of typical feminine clothing.

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      ● A strong preference for cross gender roles in make-believe play or fantasy

         play

      ● A strong preference for the toys, games, or activities stereotypically used

         or engaged in by the other gender

      ● A strong preference for playmates of the other gender

      ● In boys (assigned gender), a strong rejection of typically masculine toys,

         games, and activities, and a strong avoidance of rough-and-tumble play; or

         in girls (assigned gender), a strong rejection of typically feminine toys,

         games, and activities

      ● A strong dislike of one’s sexual anatomy

      ● A strong desire for the physical sex characteristics that match one’s

         experienced gender

      As with adolescents and adults, the condition must also be associated with

      clinically significant distress or impairment in social, occupational, or other

      important areas of functioning. (DSM-5-TR)

II.   Prevalence

16.   According to a 2022 study done by The UCLA School of Law Williams

      Institute, entitled “How Many Adults and Youth Identify as Transgender in

      the United States?” over 1.6 million adults and youth (13-17) identify as

      transgender in the U.S. Among youth ages 13-17, 1.4 percent identify as


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      transgender.   The data used was from the CDC’s BRFSS and YBRS

      (Behavioral Risk Factor Surveillance System and the Youth Risk Behavior

      Survey). The BRFSS questionnaire asks, “Do you consider yourself to be

      transgender?” (Herman 2022)

17.   Research shows that transgender individuals are younger on average than the

      U.S. population, and youth ages 13-17 are significantly more likely to identify

      as transgender than adults ages 65 and older. (Herman 2022)

18.   At the state level, estimates from this same study show that 3.0% of youth

      ages 13-17 are identifying as transgender in New York as compared to 0.6%

      in Wyoming. (Herman 2022)

19.   Per a 2022 report from Herman et al. and The Williams Institute, when

      comparing the current report with estimates made by The Williams Institute

      in 2016-2017, researchers found that the percentage and number of adults who

      identify as transgender has remained steady over time. The YRBS data shows

      that youth comprise a larger share of the transgender identified population

      than what was previously estimated, currently comprising 18.3% of the

      transgender identified population in the United States, up from 10 percent

      previously. (Herman 2022)

20.   There are several contributing factors to the rise of gender dysphoria that I

      observe in my own patient population: 1) an increase in “pathologizing” of


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      what I view — and what much of the reliable scientific literature has long

      viewed — as a normal part of childhood development, 2) shifts in cultural

      norms having to do with gender exploration in adolescence, 3) the advent of

      social media, 4) heightened vulnerability in youth, and 5) what some call

      “social contagion.” These are explained below.

21.   Increase in pathologization of a normal part of childhood development: When

      gathering a developmental history, it has been my experience that many

      parents and children describe a period of time, greater than six months, during

      which the child was a “tomboy” or “tomgirl” (per their own terminology).

      When discussing this further, most of these parents and children openly talk

      about how the child felt strongly that he/she wanted to be the opposite gender,

      preferred to play with stereotypical opposite gender toys and in opposite

      gender activities, preferred cross-gender roles in make believe play, wanted

      to wear opposite gender clothing, preferred opposite gender playmates,

      rejected same gender toys/activities, and had significant associated distress.

      These are the first six out of eight criteria in the gender dysphoria diagnosis,

      and only six criteria and significant distress are necessary for the diagnosis.

      However, these children weren’t ever diagnosed formally, their parents didn’t

      label or pathologize their behavior, and the symptoms eventually passed and

      the children became comfortable with their natal sex.


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22.   In colloquial English, in decades past, society referred to children who had

      such symptoms as “tomboys” and “tomgirls.” Gender-medicine experts today

      distinguish between tomboys or tomgirls and children with gender dysphoria.

      They state that the former display an outward expression of the opposite

      gender to the world, but feel an internal comfort with their birth gender. The

      latter, they say, have an internal psychological sense that they are of another

      gender. (DSM-5-TR)

23.   The American Academy of Child and Adolescent Psychiatry uses the terms

      gender nonconformity versus gender discordance to make this same

      distinction.   However, they acknowledge in their Practice Parameters that

      “there   may    be   clinical   difficulty   distinguishing   between   gender

      nonconformity and gender discordance.” (Adelson 2012)

24.   In my clinical experience, I have had difficulty appreciating this distinction.

      First, this is because both parents and children, who describe such a period in

      the child’s life of having been a “tomboy” or “tomgirl,” most often

      retrospectively endorse the criteria that are necessary for the gender dysphoria

      diagnosis. Second, this assertion — that children with gender dysphoria have

      an “internal psychological sense” of their gender incongruence — implies that

      children are able to have consolidated identity. This is not congruent with

      what we know about identity formation and consolidation, a stage which


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      doesn’t occur until adolescence. While gender identity is in the process of

      forming in very early childhood, this formation continues to be influenced by

      multiple factors over many years, as the normal course of childhood

      development unfolds. It isn’t until adolescence that several key psychosexual

      and psychosocial development models show identity forming and becoming

      more fixed. In other words, children’s sense of who they are, or their

      “identity,” can and often does shift over time as part of normal development.

      It is not until they reach the end of adolescence, at the cusp of adulthood, when

      identity is said to consolidate. (Erikson 1998)

25.   Still, this notion that children have an internal sense of gender and should be

      offered specialized care if they endorse the above criteria has led to the

      unnecessary pathologization of what otherwise has been considered a normal

      phase of development. This mistaken notion has contributed to an increase in

      gender dysphoria diagnoses. Many parents, who in the past simply would

      have not worried about their children who had the above “symptoms,” are

      now compelled to consider a diagnosis of gender dysphoria and treat the child

      because of the fear that their child may suffer if they don’t.       Physicians,

      likewise, are acting quickly to usher these children into gender-affirming care,

      out of the same fear. This is in spite of the data showing that “cross-gender

      wishes usually fade over time and do not persist into adulthood.” (Adelson


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      2012)

26.   Shifts in cultural norms in adolescence and the advent of social media:

      Culturally, society has created a new “norm” of gender questioning and

      exploration in adolescence. This cultural norm of gender exploration also has

      been reinforced by the medical community. According to a recent New York

      Times article, “It’s developmentally appropriate for teenagers to explore all

      facets of their identity — that is what teenagers do,” stated Dr. Angela

      Goepferd, medical director of the Gender Health Program at Children’s

      Minnesota Hospital. “And, generationally, gender has become a part of

      someone’s identity that is more socially acceptable to explore.” (Ghorayshi

      2022)

27.   Hence, not only have cultural norms shifted due to information availability

      and social media, but they have also shifted due to physicians informing

      parents and children that gender exploration is healthy and appropriate. One

      can infer that if a child has never questioned their own gender previously, this

      new norm tells them that it is healthy to do so and encourages it as part of

      normal development.

28.   Further, the advent and expansion of social media has created waves in what

      youth consider to be popular, acceptable, and normative.           Youths are

      consuming more social media than ever before. Social media enables the


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      spread of information pertaining to many issues, including those related to

      sexual development, sexual orientation, sexual activity and practices, and

      gender. There has been a dramatic increase in the global public discourse

      surrounding LGBTQA issues amongst youths. There has been widespread

      content circulating throughout society on gender exploration, incongruence,

      and dysphoria. This is generally accompanied by passionate advocacy that is

      highly regarded by youths of all ages. Celebrities have highlighted LGBTQA

      issues and have used various forms of social media, like TikTok, to promote

      and celebrate gender incongruence. On a local level, information sharing has

      led to the popularity of LGBTQA clubs at schools, community groups

      dedicated to raising awareness and acceptance, and enthusiastic support

      networks for those who identify as LGBTQA. Many of these can easily be

      found online. With the spread of online information and cultural advocacy,

      the natural heightened propensity of youth to explore gender and see it as fluid

      has increased.

29.   In a 2018 study on parent surveys of children with gender dysphoria, Littman

      writes: “Parents identified the sources they thought were most influential for

      their child becoming gender dysphoric. The most frequently answered

      influences were: YouTube transition videos (63.6%); Tumblr (61.7%); a

      group of friends they know in person (44.5%); a community/group of people


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      that they met online (42.9%); a person they know in-person (not online)

      41.7%.” (Littman 2018)

30.   Youths are more vulnerable to novel information streams. According to

      another article in The New York Times,

            Helana Darwin, a sociologist at the State University of New York
            at Stony Brook who began researching nonbinary identities in
            2014, found that the social-media community played an
            unparalleled role in people’s lives, especially those who were
            geographically isolated from other nonbinary people. . . . Her
            research found that social media is a gathering place for
            discussing the logistics of gender — providing advice,
            reassurance and emotional support, as well as soliciting feedback
            about      everything       from      voice     modulation     to
            hairstyles. . . . Psychologists often posit that as children, we
            operate almost like scientists, experimenting and gathering
            information to make sense of our surroundings. Children use
            their available resources — generally limited to their immediate
            environment — to gather cues, including information about
            gender roles, to create a sense of self.

(Wortham 2018)

31.   In this same New York Times article, author Jenna Wortham asked Alison

      Gopnik, a renowned philosopher and child psychologist, “if it’s possible that

      social media can function as a foreign country, where millions of new ideas

      and identities and habitats are on display — and whether that exposure can

      pry our calcified minds open in unexpected ways.” Gopnik replied,

      “Absolutely. . . . Having a wider range of possibilities to look at gives people

      a sense of a wider range of possibilities, and those different experiences might


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      lead to having different identities.” Wortham continued:

            When we dive into Instagram or Facebook, we are on exploratory
            missions, processing large volumes of information that help us
            shape our understanding of ourselves and one another. And this
            is a country that a majority of young adults are visiting on a
            regular basis. A Pew study from this year found that some 88
            percent of 18-to-29-year-olds report using some form of social
            media, and 71 percent of Americans between ages 18 and 24 use
            Instagram. Social media is perhaps the most influential form of
            media they now have. They turn to it for the profound and the
            mundane — to shape their views and their aesthetics. Social
            media is a testing ground for expression, the locus of
            experimentation and exploration.

(Wortham 2018)

32.   So, it would seem most plausible that the normalization and even

      encouragement of gender exploration in adolescence combined with the

      emphasis on building awareness of gender dysphoria, particularly through

      social media, would lead to a heightened prevalence of the gender dysphoria

      diagnosis.   More adolescents naturally are exploring gender, more have

      awareness of gender fluidity and gender dysphoria, and more are seeking out

      help or guidance.

33.   For example, an adolescent natal female who has been bullied by female peers

      for years now has shifted to having mainly male friends, preferring male

      athletic clothing, and wanting a short haircut to fit in with them. She believes

      her emotions to be more in line with theirs and feels distress over this. Later,

      through exposure to transgender friends and information she finds online, she
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      comes to believe that she has gender dysphoria and needs gender-affirming

      care, so she seeks help. Previously she may have viewed her feelings of

      distress and her behaviors to be a mere reflection of her vulnerability around

      females based on her negative experiences. In years past, such an adolescent

      natal female may not have interpreted that her feelings and negative

      experiences or the reactions of others had anything to do with a condition like

      gender dysphoria. But now, surrounded by widespread societal, cultural, and

      peer encouragement, she may contextualize those feelings and discomfort in

      ways that prompt her to inquire, first, into gender dysphoria as a concept, and

      then into riskier or more invasive and biologically systemic responses to her

      internal discomfort. Situations like this are common, in my experience, and I

      believe they have led to an increase in the diagnosis of gender dysphoria.

34.   Heightened vulnerability:      Youth today are also experiencing more

      vulnerability and a feeling of being disconnected, or not belonging. A new

      U.S. Department of Health and Human Services (HHS) study published in the

      American Medical Association’s journal, JAMA Pediatrics, reports

      significant increases in the number of children diagnosed with mental health

      conditions. The study, conducted by the Health Resources and Services

      Administration (HRSA), finds that between 2016 and 2020, the number of

      children ages 3-17 years diagnosed with anxiety grew by 28.9% and those


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      with depression by 26.7%. (Lebrun-Harris 2022)

35.   Certainly, there has been a large increase in mental health disorders in the

      United States over the last several years, with COVID increasing the numbers

      of vulnerable children. Families have been struggling, and there has been an

      increased rate of family disruption. Stress and trauma have exponentially

      increased, and all these stressors impact youth vulnerability, and youth

      seeking out places where they fit and belong.        In my experience with

      adolescents, many are drawn to LGBTQ clubs and online groups, and find

      them to be a kind respite where they are cared for, affirmed, and feel a sense

      of comradery with other peers who’ve faced social vulnerability and had a

      feeling of not belonging. Feeling embraced and accepted by friends whom

      they can relate to may lead them to consider that they, too, may be

      transgender. In my adolescent patients, this type of feeling is echoed often

      and lends to them endorsing gender-dysphoria criteria.

36.   Social Contagion: Lastly, heightened prevalence of gender dysphoria may be

      attributed to a “bandwagon effect” or, as others call it, “contagion.” In my

      experience, adolescents presenting with gender dysphoria have often

      described being influenced by peers and social media to consider that they

      may be the opposite gender. Similar types of influence have been reported in

      the past with other mental health conditions in psychiatry. For example, a


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       study showed self-harming behaviors were socially contagious in adolescents,

       and studies on eating disorders have shown similar patterns. (Riggio 2022;

       Dishion 2011)

III.   Treatments

37.    According to the American Academy of Child and Adolescent Psychiatry,

       principles that are important in the treatment of youth with gender discordance

       are as follows:

             1) A comprehensive diagnostic evaluation should include an

                    age-appropriate assessment of psychosexual development

                    for all youths

            2) The need for confidentiality in the clinical alliance is a special

                   consideration in the assessment of sexual and gender

                   minority youth.

            3) Family dynamics pertinent to sexual orientation, gender

                   nonconformity, and gender identity should be explored in

                   the context of the cultural values of the youth, family, and

                   community.

            4) Clinicians should inquire about circumstances commonly

                   encountered by youth with sexual and gender minority

                   status that confer increased psychiatric risk.


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         5) Clinicians should aim to foster healthy psychosexual

               development in sexual and gender minority youth and to

               protect the individual's full capacity for integrated identity

               formation and adaptive functioning.

         6) Clinicians should be aware of current evidence on the natural

               course     of     gender    discordance     and    associated

               psychopathology in children and adolescents in choosing

               the treatment goals and modality.

         7) Clinicians should be prepared to consult and act as a liaison

               with schools, community agencies, and other health care

               providers, advocating for the unique needs of sexual and

               gender minority youth and their families.

         8) Mental health professionals should be aware of community and

               professional resources relevant to sexual and gender

               minority youth.

      (Adelson 2012) The parameters also note, with regard to medical or

      surgical transition: “In general, it is desirable to help adolescents who may

      be experiencing gender distress and dysphoria to defer sex reassignment

      until adulthood, or at least until the wish to change sex is unequivocal,

      consistent, and made with appropriate consent.” They go on to describe


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        different treatment approaches when waiting until adulthood is not

        “feasible.” One approach described is puberty suppression at age 12

        followed by cross-sex hormones at age 16, and then gender reassignment

        surgeries at age 18. Another approach is waiting until Tanner Stage 2 to

        initiate pubertal suppression, and then proceeding with options for cross-

        sex hormones and gender reassignment surgeries. A therapeutic group

        approach with families to help them offer support is described. While

        the authors report negative outcomes with conversion therapies, they

        repeatedly comment on the lack of controlled trials looking at other

        therapeutic (including psychodynamic therapy) approaches in children with

        gender discordance. (Adelson 2012)

IV.   Medical Interventions and Associated Risks

38.   Medical gender transition involves puberty blockers and subsequently cross-

      sex hormones. These interventions are frequently followed by surgeries that

      can include but not limited to breast augmentation, orchiectomy,

      vaginoplasty, hysterectomy, phalloplasty, metoidioplasty, and facial surgery.

39.   Puberty blockers (gonadotropic releasing hormone agonists or GnRHa) are a

      form of medication that block the physiological production of sex hormones

      and are given during the Tanner Stage 2 of development when puberty has

      just started. (Delemarre-van de Waal 2006)


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40.   Testosterone (in males) and estrogen (in females) are responsible for changes

      that occur in puberty. Puberty blockers stop the production of follicle-

      stimulating hormone (FSH) and luteinizing hormone (LH) from the pituitary,

      and this then prevents the production of sex hormones.

41.   None of the puberty blockers are currently FDA-approved for use in gender

      dysphoria.

42.   In gender dysphoria, puberty blockers are given “off-label” to postpone the

      changes that occur with puberty. The clinical reasoning behind this is that

      proponents say that it gives youth time to decide whether to “fully” transition,

      through a trajectory of cross-sex hormones and then surgeries, while

      preventing changes that may cause distress. (Delemarre-van de Waal 2006)

43.   There is marked debate on the safety of puberty blockers, cross-sex hormones,

      and surgeries utilized in gender transition.

44.   Some of the risks that are debated in the literature are the long-term effects of

      these medications on the endocrine system, reproductive system, bone

      growth, brain maturation, psychological functioning, and metabolic

      functioning.

45.   I am generally familiar with the literature surrounding these debates. I have

      reviewed the report of Dr. James Cantor submitted in this case and agree with

      his conclusion that the existing studies of puberty-blockers and cross-sex


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      hormones in minors provide no reliable evidence of effectiveness for

      improving mental health relative to mental health treatments that lack medical

      risk. I also agree with his conclusion that all existing systematic reviews of

      safety and effectiveness of these treatments have concluded that the evidence

      on medicalized transition in minors is of poor quality.

V.    Clinical Experience with Gender Dysphoria

46.   As part of an initial evaluation, I ask individuals how they identify in terms of

      sexual orientation and gender. When taking a developmental history during

      an in-person assessment, I ask about an individual’s social development, as

      well as questions pertaining to self-concept (how one views oneself). As part

      of this, I may delve into questions that deal with gender, in an age-appropriate

      manner, with the child, adolescent, and/or parent. Questions that I ask

      pertaining to gender identity include, but are not limited to:

      ● 1) How did you feel about your gender early on in your life?

      ● 2) Did you feel comfortable with your gender?

      ● 3) If not, did you identify with another gender?

      ● 4) How did this affect you, and the way that you saw yourself?

      ● 5) What types of play did you enjoy the most?

      ● 6) Were most of your friends of the same gender or opposite gender?

      ● 7) Do you remember feeling discomfort with your body in any fashion?


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      ● 8) Did you prefer to ever dress as another gender?

      ● 9) If you previously felt more comfortable as another gender, or unsure of

         identifying with your birth sex, how long did this persist?

      ● 10) If you now feel comfortable with your natal sex, but previously did

         not, what led to you feeling comfortable?

47.   The reason such questions are important in addressing self-concept — and

      gender as a part of self-concept — is that, developmentally, an individual’s

      early experiences and view of oneself in the context of a greater environment

      are important to understanding the individual’s presenting clinical issues.

48.   Since becoming a physician in 2002, I estimate that I’ve evaluated and treated

      550 children and adolescents (and hundreds of adults) who have met criteria

      at some point in their lives for a “gender dysphoria” diagnosis. Of 550

      adolescent patients, I approximate that 350 of these patients had a history of

      gender dysphoria, as discovered on evaluation or over the course of patient

      care. This was ascertained via parent or child retrospective report wherein

      they had met criteria for the diagnosis.       For these children, the gender

      dysphoria resolved with age maturation alone prior to seeing me. Many of

      these children were referred to by their parents as having been a “tomboy” or

      “tomgirl,” and their parents were not concerned. I discuss these terms above.

      I did not label or pathologize these children during the course of their mental

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      health treatment as having had “gender dysphoria,” despite the diagnostic

      criteria seeming to have been met. But for the purpose of this declaration, I

      am including them in the discussion of patients I have treated who have had

      gender dysphoria.

49.   I estimate that I’ve seen close to 100 additional child patients who meet

      criteria for gender dysphoria on clinical interview during or over the course

      of treatment with me (as opposed to retrospective report). I have often

      observed that children’s feelings regarding their own gender are a reflection

      of their perception of gender roles within their family unit and sphere of

      influence. I have had many female child patients who enjoy climbing trees

      and playing “boy sports,” playing with “boy toys,” who have a strong desire

      to be boys like their brothers, play with only boys on the playground, reject

      “girly” toys and activities, and want to use the restroom standing up like boys

      do. These children often are emotional and experience some real distress for

      significant periods about having been born as girls and wanting to be boys in

      every imaginable way. I’ve had male child patients who do the opposite.

      With all these children, I have told their parents not to become anxious, and

      not to pathologize or characterize their child based on their observations.

50.   In every case that I have observed, children grow out of such “gender

      dysphoria” and become comfortable with their natal sex. In fact, these


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      children are naturally some of the most confident children I’ve seen over time.

      I have always attributed this to their parents being comfortable allowing them

      to explore and engage in free play without feeling any anxious desire to push

      them toward the toys and activities that are stereotypical of only one gender.

      They have not pathologized or seen their child’s preferences for play and fun

      as something to be concerned about. Hence, their children learn confidence

      to explore the world around them, feel validated and affirmed by their parents,

      without any assumptions that their exploration is anything more than a normal

      part of growing up.

51.   My experience has been that periods of gender incongruence and associated

      distress are normative and transient, with resolution as the child matures. I

      have provided these parents and children with guidance; support; and, when

      needed, exploratory therapy.

52.   I also estimate that I have seen just over 100 adolescents who have presented

      with gender dysphoria that has been more abrupt in onset. The majority of

      these are biological females, and these cases have grown increasingly frequent

      over recent years.

53.   In these cases, adolescents and/or their parents reported at least one of the

      following issues as also being primary within their life “systems” (e.g., school,

      family, peer group, community): 1) a feeling of not fitting in with peers, or


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      feeling “different” and not belonging, 2) an experience of gender roles within

      their own families, or within their peer groups, that has had a marked influence

      on their own perception of gender and gender identity, 3) a history of trauma,

      4) a history of disruption of primary attachment, 5) a history of feeling

      vulnerable and emotionally unsafe, 6) a history of depression, anxiety, or

      social anxiety, 7) a history of an autism spectrum disorder, 8) an exposure to

      information on gender via social media, TV, or the internet, with a subsequent

      curiosity about gender exploration, 9) a feeling of vulnerability, followed by

      a search for belonging, or 10) a feeling of a good “fit” among peers who have

      also felt vulnerable in an LGBTQA group online or in school.

54.   Almost all of the adolescent patients had taken steps to access additional

      information about their gender dysphoria from readily available online

      sources and social media, and many found friendship within LGBTQA clubs

      at school or online friends in the LGBTQA community. They described

      feeling accepted, supported, and affirmed within these social groups. Some

      did not identify as the opposite gender, but rather stated they were “gender

      queer” or “non-binary.”

55.   For all of these youth, I provided exploratory therapy, supportive therapy, and

      family therapy, or I worked with a therapist who collaborated with me in

      treatment, to address these factors within the adolescent’s life systems. I also


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      provided medication management where needed for other mental health

      issues. Their treatment plans included crafting an individualized approach

      from the above therapies, harnessing community support, and providing

      guidance to parents in two key areas: 1) How to best be “present” and establish

      an emotionally safe environment at home, and 2) how to grow in connection

      and relationship with their child by loving them for who they are. Among

      these adolescents, the vast majority realigned with their natal sex over the

      period of treatment. Some stated, over time, that they were questioning their

      sexual orientation, and not their gender. All responded to these interventions

      positively such that, over time, regardless of whether they’d realigned with

      their natal sex or had a future plan to transition, they no longer experienced

      gender dysphoria and their mental health improved. Those who had continued

      gender incongruence felt that they wanted to see how they felt over time rather

      than pursuing options to medically transition as minors.           They were

      appreciative of the support and therapy and found it helpful.

56.   I’ve treated approximately 25 children/adolescents during their social and/or

      medical transition. I supported them where they were at on their journey,

      through psychotherapy and medication management, and I respected their

      decision based on what treatment options had been afforded to them by other

      doctors. To clarify, I have never personally referred a minor for medical


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      transition, as I don’t believe the option should be given to minors based on

      reasons I explain below.

VI.   The Role of Exploratory Therapy for Gender Dysphoria in My Practice

57.   Minor patients with gender dysphoria benefit tremendously from therapy that

      explores their feelings and experiences within their “life systems,” past and

      present. I have found that adolescents with gender dysphoria are generally

      very open to this. They voice that they feel supported and that they gain clarity

      in the process. Through therapy, just like most youth with presentations other

      than gender dysphoria, these patients improve in self-concept and

      mindfulness, becoming aware of how their experiences have affected them,

      and what defenses they employ when feeling challenged or stressed. They

      learn to identify their own values and what matters to them, which makes their

      choices and decisions clearer.

58.   The primary modality of therapy that I have utilized in treating gender

      dysphoria is psychodynamic therapy, I have also utilized cognitive behavioral

      therapy, interpersonal therapy, and family therapy.          I do not endorse

      conversion therapy and I believe it is detrimental.          I have treated one

      adolescent who underwent conversion therapy as part of a religious school

      prior to seeing me, and she suffered significant trauma as a result. This patient

      required specific therapy to help her process that trauma.


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59.      Psychodynamic therapy engages individuals in “free association.”            Free

         association is the idea that whatever is on a patient’s mind guides the clinical

         session. The free association, or whatever the patient brings up, is deemed of

         importance and is used to spur exploration of the patient’s past and how that

         past may be affecting the patient’s present circumstances and feelings.

60.      In this context, then, the therapist can help the patient identify how repressed

         feelings from the past may be influencing the patient’s current decision

         making, relationships, and behaviors.       Over time, this leads to natural

         “uncovering” of coping and defense mechanisms, fears, desires, and values

         that are rooted in a person’s past experiences.

                                  INFORMED CONSENT

61.      To provide children the best-quality care, physicians should abide by the

         ethical standards that are universal to the practice of medicine. One of these

         standards is informed consent. Implicit to the informed consent process are

         related standards of medical ethics that are central to the practice of medicine,

         taught in medical school, and widely accepted.

I.       Medical Ethical Standards

62.      These universal ethical standards include beneficence, non-maleficence,

         autonomy, truth-telling, confidentiality, and justice.

63.      Beneficence is the obligation of the physician to act for the benefit of the


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      patient. In principle, the physician should support moral rules to protect and

      defend the rights of others, prevent harm, remove conditions which cause

      harm, help persons with disabilities, and rescue persons in danger. This means

      not simply avoiding harm, but actively seeking to promote the welfare of the

      patient. Beneficence is applied most often during clinical assessment, but also

      throughout treatment (Varkey 2020).

64.   Non-maleficence is the obligation of the physician to not harm the patient.

      This is supported by moral rules (e.g., do not cause pain or suffering, do not

      kill, do not cause offense, or deprive others of the goods of life). Hence, the

      doctor must weigh the benefits of interventions with risks or burdens they may

      place on the patient. Nonmaleficence and beneficence are both part of the

      quality-of-life discussion between a doctor and patient. (Varkey 2020)

65.   Autonomy is the supposition that all persons have intrinsic and unconditional

      value or worth, and therefore, should have the power to make moral choices

      and rational decisions, and to do so for self-determination. (Guyer 2003)

66.   Autonomy does not extend to persons who lack capacity to act autonomously.

      Thus, children, adolescents, or individuals who have disorders that prevent

      capacity or competency lack autonomy. (Grisso 1998) Autonomy is at its

      most important as the doctor considers patient rights and preferences.

67.   Truth-telling is the principle that doctors must not withhold information, nor


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      misrepresent it, but rather provide information plainly and honestly to the

      patient, so that the patient or parent can, in turn, demonstrate full

      understanding in order to provide voluntary consent. Informed consent is at

      its most important in discussing treatment options, and truth-telling is critical

      throughout patient care.

68.   Confidentiality is maintaining the patient’s privacy. This must apply to all

      domains of treatment.

69.   Justice is the fair, equitable, and appropriate treatment of persons.

      Distributive justice is the equitable distribution of health care resources

      determined by justified norms. This standard is at its most important in the

      discussion of external forces and context for a patient, including their cultural,

      spiritual, religious, and economic beliefs and circumstances. (Fleischacker

      2005; Varkey 2020)

70.   In providing care for gender dysphoria, or for any other medical or mental

      health condition, these ethical standards must be adhered to.

II.   Informed Consent as an Ethical Standard in Minors

71.   The principle of informed consent rests upon the moral and legal premise of

      patient autonomy. In all populations, informed consent must balance the

      respect for patient autonomy with the protection of patient vulnerability.

      (Appelbaum 2007) This is particularly relevant as it applies to minors.


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72.   The informed consent process requires that certain criteria be met, and these

      are dependent on development (neurologic, cognitive, psychosocial) and

      experience. Informed consent involves the following principles: a) decision-

      making capacity, b) full disclosure of medical options, c) comprehension, and

      d) voluntary consent. (Grisso 1998) Voluntary consent is one’s agreement to

      the intervention, without coercion or distress. Explanation of the other

      principles, and the neurodevelopmental requirements for each, follows.

         A. Decision-Making Capacity

73.   To provide informed consent, one must have the ability to make the decision

      at hand. In a model of assessing decision-making capacity in children, Miller

      et al. identified cognitive development and experience as being pivotal.

      (Miller 2004)

74.   In an article published in BMC Pediatrics, researchers expanded on this by

      undertaking a multidisciplinary approach to describing capacity in their

      research. Taking from neuroscience research concerning the developing

      brain, and other fields such as psychology and decision-making science and

      ethics, they highlighted the development necessary to meet the four standards

      for capacity.     (Appelbaum 2001)          They then identified certain

      neurodevelopmental skills and abilities that needed to be developed for each

      standard to be met. (Grootens-Wiegers 2017) These skills include:


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    A. The ability to communicate a choice: This is the least rigorous standard

       for decision-making capacity. To consent to treatment, a person needs to

       be able to communicate that there is a choice to be made and a preference

       of treatment, via written or spoken language. This neurologic skill is

       “communication”, either spoken or nonverbal. Nonverbal communication

       is an indication of dissent or implicit consent, but not legal consent. Hence,

       this standard depends on language development, which is initiated in early

       childhood. Children have a reasonable understanding of language by age

       five, with refinement continuing until age nine. Further development of

       vocabulary and expression occurs throughout adolescence. (Shaffer 2007)

    B. The ability to understand: In order to understand information presented

       about diagnosis and treatment options, and comprehend what choices for

       treatment are, and that a choice needs to be made, a person must be able to

       orient and direct attention to information. They must have sufficient

       intelligence, language proficiency to process the information, and memory

       and recall to integrate information beyond the short term. The foundation

       for this is laid down during infancy. Maturity in orientation and attention

       develops from ages seven to ten.        (Rueda 2004) Memory increases

       between ages six and twelve, and then increases slightly during

       adolescence. (Thaler 2013)


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    C. The ability to reason: One must understand information, and then be able

       to reason regarding risks, benefits, and possible consequences of treatment.

       (Appelbaum 2007; Grisso 1997) To do this, one must have the “ability to

       engage in consequential and comparative reasoning and to manipulate

       information rationally.” (Palmer 2016) Children, between the ages of six

       and eight years old, can engage in logical reasoning, and this ability grows

       from ages eight through eleven, as they use and access their own

       knowledge. (Markovits 1998) Complex reasoning, about alternative

       causal relations, develops into adulthood. Risk identification develops

       strongly between ages six through ten. (Hillier 1998) Although risk

       identification is mature in late adolescence, adolescents are paradoxically

       more inclined toward risky behaviors due to the impulse control centers of

       their brains not having yet matured. (Casey 2015) This is further discussed

       below.

    D. The ability to appreciate: This is the strictest standard of decision-

       making capacity. It requires that one understand the various options for

       treatment, and the relevance of those options to one’s personal

       circumstances, values, and beliefs. Therein, one needs to have the ability

       to think abstractly and to understand the intangible consequences of a

       decision. This includes being aware that others have a mind of their own.


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         (Appelbaum 2001) Many different areas of the brain are involved in this

         skill. Children start to recognize their own beliefs and desires, which

         contribute to their personal values and norms, between the ages of three

         and four. (Shaffer 2007) They begin to understand how these beliefs

         influence their actions. As an individual ages, due to the efficiency of

         working memory, one can think about more abstract and hypothetical

         things. (Markovits 2013; Pike 2010)

75.   Capacity judgments should also take into consideration the factors, or

      circumstances and stressors, that affect minors in decision-making

      competency (competency being a legal decision). These are: personality (the

      child’s predisposition to view information a particular way), emotional state

      (which can be seen as a motivator for information and preferences), and

      disease severity (which can affect understanding, retention of information,

      and reasons to consent).

76.   Additionally, the minor’s decision-making capacity for medical treatment

      should be assessed in the context of parental and clinician attitude and

      influence. (Miller 2004; Alderson 1992; Mann 1989)

77.   Finally, the minor’s capacity should also take into consideration the type and

      complexity of the decision, the setting, and the timing of the decision and time

      constraints.


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78.   Decision-making capacity can be considered in terms of neurodevelopment,

      psychosocial development, and cognitive development. Each is considered

      below.

79.   Neurodevelopment. The MacArthur Competence Assessment Tool is often

      used to assess medical decision-making capacity. It was shown to be valid

      and reliable in children. (Palmer 2016; Appelbaum 2001) In a group of

      children six to eighteen years of age, it demonstrated that age limits for

      children to be deemed competent were estimated as early as 11.2 years old.

      (Hein 2014; Hein 2015) However, the authors point out that the cut off age

      of 11.2 years does not imply competence for any decision, in any situation.

      Rather, it is an age when, given favorable environmental factors, competency

      may be considered. (Hein 2014) Furthermore, with adolescence approaching,

      a child this age will continue to experience specific events in brain

      development that influence competency. (Appelbaum 2001) As noted by

      Hein et al. in a 2015 study, “[C] hildren may differ from adults by not having

      developed yet stable long term goals and values in life, meaning that children

      may procedurally be classified as competent although their decisions are

      based on values that might change. This could imply that later on they might

      regret decisions based on those early-life values.” (Hein 2015)

80.   These specific events in adolescent brain development (Appelbaum 2001)


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      contribute to a non-linear increase in decision-making competency from ages

      twelve to eighteen. During this adolescent stage of development the most

      significant changes in the brain have to do with processing rewards and risks,

      and self-regulation. Because of this, adolescence is often marked by risky

      behaviors, sensation seeking, and high prioritization of peer influences when

      making decisions. This also is the explanation for the higher rates of health

      issues and mortality in adolescents. (Steinberg 2004)

81.   The increase in adolescent decision-making competency is non-linear due, in

      part, to “cross talk” between various brain structures during development.

      The three areas of the brain that are developing during adolescence and that

      pertain to decision making are the pre-frontal cortex (the brain’s control

      system), the ventral striatum (the reward system), and the amygdala (the

      emotional center). The “cross talk” between these structures is not fully

      developed until early adulthood. (Steinberg 2013)

82.   The prefrontal cortex is involved in impulse control and self-regulation. The

      ability to self-regulate develops significantly by age eighteen, and then further

      into early adulthood. The prefrontal cortex also is involved in functions that

      require control, like paying attention, planning, organizing tasks, weighing

      risks and benefits, and processing more complicated decisions. (Gogtay

      2004)


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83.   The ventral striatum is pivotal in the brain’s reward system. It produces

      dopamine in response to rewards. During adolescence, the reward system is

      hyperresponsive. (Van Leijenhorst 2010) This means that the dopamine

      response to reward is much higher and is associated with increased reward

      seeking and sensation-seeking. This heightened responsiveness applies even

      to “small” rewards, making the positive effect of small rewards greater than

      in adults. Hence, “in a dilemma in which there is a small chance of reward,

      this reward may be attributed such a high value that the situation is no longer

      perceived a dilemma by the adolescent and there is only one path to choose.”

      (Steinberg 2004)

84.   The amygdala is involved in emotional processing and input to the reward

      system. The maturation of the amygdala stabilizes in late adolescence.

85.   There is a mismatch in timing and pacing between the development of the

      amygdala, the ventral striatum, and the prefrontal cortex. The control system

      in the prefrontal cortex develops slowly and is last to complete maturation in

      early adulthood, whereas the reward system and emotional input system

      (ventral striatum and amygdala) begin change in early adolescence and

      complete maturation at a quicker pace. This accounts for the fact that even

      though adolescents can estimate risk or make responsible decisions, they often

      end up in precarious and risky situations and their behavior is not always


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      consistent with their capacities. This also accounts for their often “too quick”

      decision making. Adolescents are prone to picking pathways with more

      immediate reward, regardless of consequences or consideration of other

      pathways. (Mills 2014; Steinberg 2013)

86.   Consider, as a simple example, the “kid in a toy store” scenario. Children and

      adolescents are more likely to choose a flashy toy or item that they encounter

      first and feel instantly drawn toward rather than waiting to explore the rest of

      the store where they may find toys and items they like even more and that are

      more valuable. They seek out immediate gratification and pursue impulse-

      driven choices when confronted with reward stimuli rather than contemplating

      other options that carry the same or better reward but entail delayed

      gratification.

87.   Steinberg puts it another way by discussing “hot” and “cold” contexts. An

      emotionally laden context is hot, whereas a minimally emotional context is

      cold. When emotions play a role in a situation, this can influence the decision-

      making process and the outcome. In adolescence, risk taking in a cold

      situation may be similar to that in children and adults. However, in hot

      situations, risk taking is increased, and this affects decision-making severely.

      This explains “the often-risky decisions adolescents make, seemingly only

      thinking about short term rewards, even though afterwards they can


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      reasonably assess their ‘leap in judgment.’” (Steinberg 2013; Metcalfe 1999)

88.   These neurobiological models of adolescence are summarized in Appendix A.

      (Ernst 2006; McClure 2004; Metcalfe 1999; Casey 2008)

89.   Johnson et al. also report similar conclusions in their work. The brain

      continues to mature into an individual’s mid-20s. Functional MRI studies

      show that the prefrontal cortex is still maturing; this is the part of the brain

      involved with executive functioning and impulse control. Johnson et al. state

      that “[a]mong the many behavior changes that have been noted for teens, the

      three that are most robustly seen across cultures are: (1) increased novelty

      seeking, (2) increased risk taking, and (3) a social affiliation toward peer-

      based interactions.” (Johnson 2009)

90.   B.J. Casey confirmed this in her research on adolescent decision making. Her

      research concludes that the adolescent brain is more vulnerable when tasked

      with decision making in emotionally laden situations and in situations with

      peer involvement. (Casey 2008a; Casey 2008b; Casey 2010; Casey 2013;

      Chein 2011)

91.   Casey’s team studied adolescent response time when pairing stimuli with

      rewards and incentives. (Hare 2008, Appendix B and C). Naturally, without

      conscious awareness, people have quicker responses when they associate

      certain stimuli with positive outcomes or incentives. Individuals have slower


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      responses to stimuli when there are fewer expected positive outcomes or

      rewards. (McClure 2004) Representation of rewards and incentives is found

      in the ventral striatum. Across development, studies show that adolescents

      activate this deeper region of the brain more than young children and adults.

      When greater activity is seen in the ventral striatum, it is correlated with a

      higher degree of risk-taking behaviors or impulsivity. (Casey 2015)

92.   Per Casey’s research, the presence of peers also influences response time and

      accuracy for the adolescent. According to studies, when peers are present,

      adolescents make more errors in social cue interpretation and response time.

      They react more quickly to incentives and are more drawn to danger and risk

      taking or impulsive behaviors. Their brains are activated in the areas of the

      ventral striatum and the amygdala shows heightened activity relative to

      younger children and adults. (Casey 2015; Chein 2011)

93.   Essentially, then, peers serve as reinforcers to influence behavior. (Chein

      2011). Jones et al. (2014) developed a social reinforcement learning model to

      evaluate the degree to which peers reinforce behaviors from childhood to

      adulthood. The investigators manipulated the probability of the participant

      receiving positive social feedback from three virtual peers, who provided 33

      percent, 66 percent, or 100 percent positive feedback. The results showed that

      different amounts of positive feedback enhanced learning in childhood


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      through adulthood. However, based upon response latency measurement, it

      was concluded that all positive social reinforcement from peers equally

      motivated adolescents. Furthermore, adolescents, unlike children and adults,

      had an increase in premotor circuitry when receiving positive social feedback

      regardless of the expected outcome. (The premotor cortex communicates with

      other parts of the brain to cause motion.) Hence, peer interactions appear to

      motivate adolescents toward action. (Jones 2014)

94.   Casey concludes that adolescents show impairment in overriding impulses in

      emotionally charged situations. The imbalance appears to reflect earlier

      developing emotional centers in the brain and those involved in self-control.

      Lastly, she states that diminished self-control is transient and continues to

      develop in adulthood as these brain systems mature with experience. (Casey

      2008; Casey 2015).

95.   Psychosocial development.        Children are developing human beings.

      Children go through several stages of psychosocial development according to

      Erik Erikson, a developmental psychologist whose theories are utilized across

      the fields of mental health and development. He stated that children enter the

      stage of “Industry vs. Inferiority” between ages five and twelve, wherein their

      major milestone is attaining the virtue of competence. (Erikson 1998)

96.   During this stage, a child’s peer group becomes more important. The child


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      views his or her peers as being highly significant. The child’s self-concept

      begins to form more closely around peer approval or disapproval. Children’s

      reactions of feeling confident or proud, rejected and incapable, often form

      around their accomplishments and the responses of their peers. If their efforts

      are reinforced by praise and reward, they feel industrious (or “competent”).

      They exude a readiness to move past this stage and further along the

      developmental trajectory. If, however, they feel rejected or disapproved of,

      they feel inferior (“incompetent”), causing a halt in development and an

      inability to move forward along the developmental trajectory. (Erikson 1998)

97.   Adolescence, which is the next stage, is a time when youth develop the

      capacity to navigate social situations, and process social cues in more abstract

      ways.    The ability to understand others’ perspectives is expanding.

      Additionally, self-awareness is increasing into late adolescence and early

      adulthood, and modulating decision making as identity is consolidated.

98.   According to Erikson, adolescents ages twelve to eighteen, who successfully

      moved forward from the former phase of development, enter the stage of

      “Identity vs. Role Confusion.” During this stage, they are searching for a

      sense of self and identity. They experience intense exploration of personal

      values, beliefs, and goals. Adolescents begin to analyze and think more

      deeply about their own morality and ethics, and to determine their individual


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       identities based upon their life experiences.

99.    Body image is critical in this stage of development, and Erikson suggests that

       two identities are forming: “sexual” and “occupational.” Erikson says that

       adolescents may feel discomfort with their bodies for some period until they

       can adapt and grow into the changes. Success in this stage leads to the virtue

       of “fidelity,” which he defines as the ability to commit oneself to others on

       the basis of accepting them even where there are differences.

100. Adolescents have a desire to belong to society and to be productive. During

       this period, those adolescents who fail to form a sense of identity experience

       role confusion, feeling unsure where they fit into society in the long term.

101. Also, during this stage, youth are particularly impacted by peers, and are

       seeking to approve of themselves while being approved of by their peer group.

       Their exploration of their identities is ongoing throughout this stage and not

       solidified until they reach adulthood. (Erikson 1998)

102. Cognitive development: A model of cognitive development in children and

       adolescents was developed by Jean Piaget, another developmental

       psychologist.

103.   Piaget described children between the ages of 2 to 7 as being in the

       “preoperational stage” of development. During this stage, children struggle

       with logic and have difficulty with the idea of constancy. They use their


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      imagination and engage in pretend play but are concrete in the way they view

      their immediate surroundings. They also think symbolically and enjoy role

      play. Their cognitive skills (working memory, attention) are being developed.

104. He stated that between ages 7 through 11 (middle childhood through pre-

      adolescence), children entered the stage of “concrete operations.” During this

      stage, children use logic in problem solving, and can engage in inductive

      (inferential) reasoning. However, they struggle with deductive reasoning,

      which involves the ability to use a general principle to predict an outcome.

      They are able to see another person’s perspective. They lack the ability to

      solve problems that deal with more abstract concepts, while they can solve

      concrete problems (actual objects or events). They have difficulty with

      understanding and utilizing common sense, and difficulty applying what they

      know to more hypothetical situations. (Santrock 2008)

105. Children in this stage also begin to think through social matters differently.

      Piaget’s theory suggests that during the stage of concrete operations and on

      into the stage of formal operations, adolescents experience a feeling of

      uniqueness and invincibility. He refers to this as “imaginary audience” and

      “personal fable.” Imaginary audience is evidenced by the adolescent always

      thinking others are watching, and personal fable is the adolescent’s belief that

      he or she is exceptional in some way.


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106. From age 11 through adulthood, adolescents go through “formal operations,”

      the final stage in Piaget’s theory. An adolescent during this stage is starting

      to engage more in deductive reasoning (Berger 2016), and is able to consider

      the hypothetical and “what if?” type of situations. The adolescent’s

      metacognition is also developing, which is the awareness and understanding

      of their own thought processes.

107. Piaget’s theories were rooted in observation and testing and are still utilized

      in our field. Neuroscientific developments through functional imaging have

      helped refine our understanding of his cognitive development theory.

108. To summarize, neurological, psychosocial, and cognitive development in the

      child and adolescent all play a role in the determination of decision-making

      capacity.

         B. Full Disclosure

109. To provide informed consent to treatment, a patient must be given full

      disclosure. (Varkey 2020) This must include: a) an explanation of the

      diagnosis and how it was arrived upon, b) information about the diagnosis and

      what is known regarding outcomes, c) the options that the patient has for

      treatment (including no treatment), d) the risks and benefits surrounding each

      treatment option, including those risks and benefits that are unknown, and e)

      the likelihood of the risks and benefits (occurring over the short and long term)


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      for each treatment option.

110. Additionally, the physician must present details of the treatment options,

      including but not limited to, the preparation for the treatment that is necessary,

      and the follow up that should occur afterward for the best outcomes.

111. The physician should have knowledge of the subject area, and be objective in

      approach, placing the decision in the hands of the patient. The physician’s

      role is to provide information and education to the patient based on expertise

      and to allow the patient to voluntarily consent.

         C. Comprehension

112. Comprehension in the informed-consent process requires that the patient

      understand the diagnosis, the treatment options, and risks and benefits. To

      demonstrate comprehension, patients are asked to explain these things back

      to the physician in their own words, indicating that they intellectually have

      grasped the content. Adolescents are developing the ability to engage in

      deductive reasoning as they grow toward adulthood. They can consider the

      hypothetical, which makes their ability to think about abstract consequences

      of treatments possible as they mature. However, it is important to note that

      the adolescent brain’s ability to “appreciate” is evolving throughout

      adolescence and into adulthood.          Hence, being able to fully appreciate

      outcomes of treatment, particularly those that are more abstract, is difficult


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       through this period. Additionally, adolescents are still prone to impulse-

       driven decisions that end in more immediate gratification or reward,

       regardless of risk.

III.   Parental Consent with Child Assent When Minor Informed Consent Is
       Unattainable

113. An adolescent's capacity and competency are not assumed in most cases, and

       parents are generally seen as medical decision makers for them. The rationale

       underlying this presumption is that “parents have what children lack in

       maturity, experience, and capacity for judgment when making difficult life

       decisions.” (Diaz 2015).

114. There are exceptions to parents’ ability to provide consent for the minor. In

       certain circumstances, a state may substitute its judgment that a medical

       procedure is in a child’s best interests, even if parents do not consent.

       Likewise, a state may determine that a medical procedure is not in a child’s

       best interest, even if parents attempt to give consent — an example being

       parents seeking to permit sterilization of their children.

            GENDER DYSPHORIA AND INFORMED CONSENT IN MINORS

115. As explained above, informed consent requires that a patient have decision-

       making capacity, which includes the ability to understand, reason, appreciate,

       and comprehend the information presented in a full disclosure of a diagnosis,

       its prevalence, available treatments, and the treatments’ risks and benefits.

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     There are at least two problems with this within the minor population when it

     comes to gender dysphoria.

116. First, patients must understand, reason through, and appreciate that the

     prevalence of gender dysphoria has been on the rise in adolescents, and there

     has been little research as to contributing factors. Additionally, there are a

     host of other co-occurring issues that need to be weighed in navigating

     treatment direction. Patients must understand that when these factors and co-

     occurring issues are brought to conscious awareness in therapy, gender

     dysphoria is often transient and remits. This is, at minimum, a difficult task

     for minors to understand.

117. Second, when considering treatment options for gender dysphoria, patients

     must be able to appreciate and weigh their options. The option of exploratory

     therapy inherently has far less risk than undergoing medical gender transition,

     but it takes time and considerable emotional investment as it explores the

     various systems in an adolescent’s life. Albeit very fruitful and with minimal

     risks, it can still be emotionally taxing. Research confirms that adolescents

     devalue delayed outcomes relative to adults. (Huang 2017) Adolescents are

     less inclined to plan ahead or anticipate the future consequences of their

     actions before acting. (Steinberg 2009).

118. Gender affirming care and medical transition may appear to be “quicker”


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      answers to dysphoria and internal discomfort, as they aim to directly and

      immediately validate the adolescent’s feelings about becoming the opposite

      gender, and they summarily dispense with any need to understand or explore

      causation. Considering both options, the impulse-prone adolescent is likely

      to find the latter far more rewarding.

119. In order for the minor to provide informed consent, the adolescent would need

      to be developmentally capable of appreciating the long-term consequences

      and risks of each option, and to be able to supersede impulse and desire for

      reward (to become the opposite gender), and attribute both options equal

      consideration. This requires complex deductive reasoning, planning, and

      thinking through future hypothetical life events like the desire to have children

      and potentially breastfeed. They would have to be able to fully comprehend

      and appreciate the debate over medical gender transition side effects, risks,

      benefits, and outcomes, and the issue of data quality. The complexity of the

      debate over the safety and outcome data is remarkable, and essential for the

      patient to understand as the potential risks involved can affect a minor

      patient’s entire life. This particular task, in my opinion, is insurmountable for

      a minor patient.

120. These two barriers and necessary prerequisites to minor informed consent —

      (1) the requirement to understand, reason through, and appreciate that the


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         prevalence of gender dysphoria has been on the rise in adolescents, that there

         has been little research as to both contributing factors, and the long-term

         effects of suggested medical interventions; and (2) that there can be a host of

         other co-occurring issues that need to be weighed in navigating treatment

         direction — are discussed further below. These details must be adequately

         and sensitively considered by all persons involved in the informed consent

         process to accurately ascertain and preserve the range of informed choices and

         effective options available to the patient. This more detailed discussion of

         these prerequisites and barriers will be followed by a discussion of why

         parental consent with minor assent should not be sufficient in the case of

         medical or gender transition.

I.       Minor Gender Dysphoria Prevalence and Informed Consent

121. When the prevalence of a particular presentation increases, regardless of what

         presentation is, physicians must first ask themselves what factors are leading

         to the increased prevalence and what co-occurring issues are also presenting.

122. For example, if there were an increase in the prevalence of hypertension (high

         blood pressure) in teenagers, physicians would naturally craft a two-pronged

         response. One would be tailored to the potential factors that have led to the

         heightened prevalence, and the second would be tailored to any co-occurring

         conditions they see accompanying the hypertension in the event that those are


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      linked or causative. They would not simply advise all teens with hypertension

      to take medications that could carry associated risks. They would first take

      measures to address factors that may affect prevalence, like an increase in

      sugar consumption among youths, or an increase in cultural acceptance of

      childhood obesity. Second, they would also take measures to address co-

      occurring factors like obesity, stress, and sedentary lifestyles. Patients would

      be informed of these factors and co-occurring issues, and physicians would

      help each patient to appreciate them and to address them with education about

      the effects of obesity and too much sugar and about the need for improved

      diet, exercise, and stress-relieving measures. While these interventions may

      take time in comparison to medicines that relieve hypertension quickly, they

      would carry far less risk to the adolescent.

123. Second, when looking at increased prevalence of a presentation, physicians

      should ask themselves if the presentation is transient or continual over a

      meaningful span of time. Patients, in the informed-consent process, would

      need to know if their diagnosis is one that can resolve over time, if it is

      permanent, whether or not it requires immediate treatment, how soon it might

      require an intervention that entails proportionally significant risk, the relative

      likelihood or probabilities of all of the above, and how all of this information

      relates to the reliability of existing research and the current frontiers and limits


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      of scientific inquiry.

124. For example, if teens were showing signs of mood lability through a particular

      stage of puberty, physicians would look at whether the lability was transient,

      and whether it would resolve completely on its own. If a known external

      cause was identified, they would seek to address it. If it were determined to

      be transient and a normal part of youth maturation, then physicians would

      likely provide support through that stage and see if the lability declined

      naturally. If not, they’d address it later.

125. Taking a second example, in mental health, if a five-year-old patient presented

      with difficulty with affect regulation, as well as trouble focusing and being

      still in the classroom, most physicians would not diagnose ADHD on initial

      assessment. The diagnosis and labeling of ADHD carelessly or prematurely

      can have negative implications for the child. Rather, they would investigate

      what other issues are happening in the child’s life, and consider the child’s

      development, family history, abilities according to a psychoeducational

      assessment, teacher input, the way the child learns, his classroom structure,

      social skills, and his stressors. Additionally, they would consider that children

      who are five years of age are in the developmental stage of initiative vs. guilt,

      and the milestone of this stage is “purpose.” The child is learning to navigate

      social rules and gain self-regulation. From a neurodevelopmental perspective,


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      the child’s brain is presently at the stage in which impulse control centers,

      motor centers, and expressive language centers are not yet fully matured, and

      hence, his behavior may be merely a result of him needing to grow more. Any

      treatment interventions beyond parental guidance, teacher guidance, and

      therapeutic support may be unnecessary or even detrimental as risk would

      likely outweigh benefit. Further time and observation would allow physicians

      to gain a better understanding as to whether the child will outgrow these

      behaviors, or whether they will be sustained once he grows and other factors

      resolve. The child and his parents, as part of informed consent, would need

      to know that these behaviors sometimes pass on their own with maturation.

      They would also need to understand the evidence (or lack thereof), risks, and

      benefits of all treatment options that are available if these behaviors did not

      resolve with maturation.

126. With regard to gender dysphoria, the heightened prevalence in recent years

      should cause physicians to identify possible contributing factors and co-

      occurring issues, and then craft a two-pronged response that addresses these,

      all prior to recommending medical transition which entails risk. Patients need

      to be able to understand, reason through, and appreciate these factors and co-

      occurring issues and have the opportunity to explore them prior to considering

      transition.   The factors I’ve observed to contribute to the heightened


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      prevalence of gender dysphoria are an increase in “pathologizing” of a normal

      part of childhood development, shifts in cultural norms having to do with

      gender exploration in adolescence, the influence of social media, heightened

      vulnerability in youth, and what some call “social contagion.” Some co-

      occurring issues that I have observed are trauma, depression, anxiety, autism

      spectrum disorders, influential gender-role experiences, vulnerability and a

      lack of feeling socially accepted, and the influence of social media. These are

      identified and addressed as the patient goes through the therapeutic process

      and supports for the patient are also harnessed. As part of informed consent,

      patients should understand and appreciate that when these issues are

      addressed, frequently gender dysphoria is transient and remits. As stated

      above, this understanding and appreciation is an extremely difficult task for

      adolescents.

II.   Minor Treatment Recommendations and Informed Consent

127. Major medical associations, including WPATH, have endorsed puberty

      suppression and cross-sex hormones as treatments for youth with gender

      dysphoria. Patients, in the informed-consent process, need to be able to

      understand, reason through, and appreciate the limits of medical knowledge

      and the issues that are of ongoing debate regarding gender transition,

      including the debate over long-term outcomes, safety, and potential risks.


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128. The WPATH SOC-8, in its adolescent chapter, states: “We recommend health

     care professionals working with gender diverse adolescents undertake a

     comprehensive biopsychosocial assessment of adolescents who present with

     gender identity-related concerns and seek medical/surgical transition-related

     care, and that this be accomplished in a collaborative and supportive manner.”

     (Coleman 2022, Recommendation 6.3) It goes on to state:

           The following recommendations are made regarding the
           requirements for gender-affirming medical and surgical
           treatment (All of them must be met):

            6.12- We recommend health care professionals assessing
           transgender and gender diverse adolescents only recommend
           gender-affirming medical or surgical treatments requested
           by the patient when:

           6.12.a- the adolescent meets the diagnostic criteria of gender
           incongruence as per the ICd-11 in situations where a
           diagnosis is necessary to access health care . . . .

           6.12.b- the experience of gender diversity/incongruence is
           marked and sustained over time.

           6.12.c- the adolescent demonstrates the emotional and
           cognitive maturity required to provide informed
           consent/assent for the treatment.

           6.12.d- the adolescent’s mental health concerns (if any) that
           may interfere with diagnostic clarity, capacity to consent,
           and gender-affirming medical treatments have been
           addressed.

            6.12.e- the adolescent has been informed of the reproductive
           effects, including the potential loss of fertility and the
           available options to preserve fertility, and these have been

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           discussed in the context of the adolescent’s stage of pubertal
           development.

           6.12.f- the adolescent has reached [T]anner [S]tage 2 of
           puberty for pubertal suppression to be initiated.

           6.12.g- the adolescent had at least 12 months of gender-
           affirming hormone therapy or longer, if required, to achieve
           the desired surgical result for gender-affirming procedures,
           including breast augmentation, orchiectomy, vaginoplasty,
           hysterectomy, phalloplasty, metoidioplasty, and facial
           surgery as part of gender-affirming treatment unless
           hormone therapy is either not desired or is medically
           contraindicated.

(Coleman 2022, Recommendation 6.12)

129. On page S5 of the WPATH SOC-8 guidelines, the Introduction presents the

     guidelines as reliable, comfort-oriented, safety-oriented, and evidence based.

     “The overall goal of the . . . (SOC-8) is to provide clinical guidance to health

     care professionals to assist transgender and gender diverse (TGD) people in

     accessing safe and effective pathways to achieving lasting personal comfort

     with their gendered selves with the aim of optimizing their overall physical

     health, psychological well-being, and self-fulfillment.” The introduction

     continues: “WPATH envisions a world wherein people of all gender identities

     and gender expressions have access to evidence-based health care, social

     services, justice, and equality.” In the next paragraph, WPATH assures

     readers that “[o]ne of the main functions of WPATH is to promote the highest

     standards of health care for individuals through the Standards of Care (SOC)

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     for the health of TGD people,” and that “[t]he SOC-8 is based on the best

     available science and expert professional consensus.” The Abstract itself, in

     the Methods paragraph, expressly offers the following assurance:

     The SOC-8 is based on the best available science and expert
          professional consensus in transgender health. International
          professionals and stakeholders were selected to serve on the
          SOC-8 committee. Recommendation statements were developed
          based on data derived from independent systematic literature
          reviews, where available, background reviews and expert
          opinions. Grading of recommendations was based on the
          available evidence supporting interventions, a discussion of risks
          and harms, as well as the feasibility and acceptability within
          different contexts and country settings.

(Coleman 2022)

130. Reading these statements, the natural assumption of patients, parents,

     caregivers, and many physicians is that the factors contributing to gender

     dysphoria have been well established and that based on those factors, “seek

     medical/surgical transition-related care.” (Coleman 2022, Recommendation

     6.3) It is further assumed that when the recommendations above are followed

     with minors who have gender dysphoria — directing the patient to gender-

     affirming care, then on toward medical suppression of puberty, cross sex

     hormones, and gender reassignment surgeries. — these interventions will

     automatically be the best course of treatment. Furthermore, the WPATH

     recommendations leave ample room for physicians, patients, and parents to

     erroneously assume that recommendations for medical and surgical gender
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      transition are evidence-based, that is, founded in rigorous scientific inquiry

      through randomized controlled trials and long-term follow-up studies that

      affirmatively show positive medical and psychological outcomes and

      established safety records. Lastly, the physician and the patient (and parent)

      might naturally assume that the quality of the studies must be high, given that

      altering the natural course of development in youth is a significant measure;

      that it is relatively new; that it is not something that the medical community

      has engaged in historically; and that common sense would indicate that such

      major interventions generally would only be justified on the basis of thorough

      deliberation, ample and solid research, and strong evidence.

131. However, there is remarkable controversy and debate over these

      recommendations and the data that supports them.

132. While physicians can understand and appreciate the controversies that follow

      below, in my view adolescents are not developmentally able to do so. Their

      neurodevelopment and proneness to impulse-driven decisions make it highly

      possible that they will disregard or undervalue the critical issues of

      controversy and debate and move forward with assent/consent to medical or

      surgical transition, all to achieve the perceived reward of achieving secondary

      sex characteristics of the opposite gender.

133. I believe that several issues must be fully considered and appreciated by


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    patients in order for them to be able to provide appropriate informed consent.

    However, many of the most vital issues cannot be sufficiently appreciated in

    adolescence. These issues are listed below:

    ● The Dutch Studies have been foundational in the formation of the WPATH

       recommendations but are suspect in terms of their quality and their

       applicability to the patient population currently presenting in America.

       “Several recent international systematic reviews of evidence have

       concluded that the practice of pediatric gender transition rests on low to

       very low quality evidence—meaning that the benefits reported by the

       existing studies are unlikely to be true due to profound problems in the

       study designs.” (Abbruzzese 2023)

    ● Gender dysphoria is the only diagnosis that I am aware of for which an

       alteration of bodily integrity is being clinically advised for the purpose of

       affirming identity.

    ● There is debate over the quality of data used in studies assessing links

       between suicide rates and gender dysphoria, including the change in

       suicide rates post-transition.

    ● The WPATH recommendations state that only one comprehensive

       psychological assessment should be required for minors in order to

       proceed to transition. (Coleman 2022) Patients should understand that

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       such co-occurring health concerns and issues accompanying gender

       dysphoria take time to identify, and one comprehensive assessment is not

       sufficient to do so for any practically condition in mental health.

    ● The WPATH recommendations state that decision-making capacity has to

       be determined in each adolescent wanting to undergo gender transition

       based on each adolescent’s development. (Coleman 2022) But WPATH

       elides the crucial issue: both patients and parents/guardians should

       understand that it is not well established that adolescents can ever meet

       such requirements for decision-making capacity when they are offered

       non-emergent treatments that substantially affect bodily integrity and that

       have potentially life-long irreversible consequences on reproduction and

       multiple other bodily systems.

    ● There is significant debate about whether the majority of children and

       adolescents with gender dysphoria realign with their birth sex with time

       and maturation.

    ● There is debate as to the lack of studies that evaluate the factors that are

       leading to the heightened prevalence of gender dysphoria.

    ● Patients and their parents must understand that while gender medicine

       experts claim minimal risk with puberty blockers, this is highly

       controversial. They should also understand that almost one hundred

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       percent of those taking puberty blockers go on to receive cross-sex

       hormones. Hence, even if puberty blockers themselves were of low risk,

       the trajectory of medical gender transition includes cross-sex hormones,

       which render a patient infertile.

    ● There is additional debate over the long-term side effects and

       consequences of the medical transition trajectory, including but not limited

       to potential problems with bone growth, brain maturation, metabolic

       function, endocrine function, sexual health, psychological function, and

       reproductive capacity.

    ● There is debate as to whether minors can appreciate the potential impact

       that infertility can have on an individual’s psyche should they one day

       desire to have children.

    ● There is insufficient data on detransitioners, and there is literature that

       states that those who detransition may not access adequate follow up or

       support.

    ● The interplay between gender dysphoria and common co-occurring

       conditions, and how treating those conditions may affect an individual’s

       gender dysphoria, have not been adequately studied.

    ● Alternative approaches to treating gender dysphoria have not been

       adequately studied.

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134. In my experience, the task of understanding, reasoning through, appreciating,

      and comprehending the above matters is insurmountable for adolescents.

135. Furthermore, I don’t believe that parents should be able to provide medical

      consent with minor assent for medical gender transition. This is because the

      debate that exists has to do with the safety of treatments that affect the bodily

      integrity of the minor, and there is debate as to the long-term outcomes of such

      treatments. Many of these debated outcomes would stand to permanently

      affect the quality of life of the minor, in multiple arenas such as romantic

      relationships, marriage, sexual intimacy, childbirth, child rearing, self-

      concept, social and workplace relationships, potential adversity due to

      discrimination, and long-term psychological and medical health. In my

      opinion, for a parent to provide consent to non-emergent treatments that stand

      to affect the rest of a minor’s life in every arena, and to do so without the

      minor’s full ability to appreciate the above debate and potential long-term

      ramifications, violates the minor’s future right to autonomy.

                        TRAUMA AND GENDER DYSPHORIA

136. Children and adolescents with gender dysphoria who have been through

      trauma may have an even greater difficulty with appreciating and weighing

      the various treatment options for gender dysphoria. Trauma affects how

      children and adolescents process the world around them, how they interact


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    and engage in relationships, how they perceive various events and situations,

    and how they react and behave. Trauma influences the way individuals

    perceive their own bodies. Their sense of bodily safety and how they feel

    about their outward appearance is often significantly affected. The risk in

    offering medical or surgical transition to adolescents who have gender

    dysphoria and a history of trauma is that they may find gender transition to be

    appealing and a “quick fix” to their complex internal emotions and feelings

    about their bodies. This may stand in contrast to a child or adolescent’s

    perception of trauma-focused therapy modalities that are directed at helping

    an individual work through, process, and recover from trauma, as these

    treatments take an extensive amount of time (months to years) and are

    emotionally very difficult. While trauma-focused therapies are data-driven

    and effective and allow an individual to experience healing and then to make

    more consequential life decisions, the child or adolescent may not give them

    consideration when perceiving that medical or surgical transition would help

    them to feel better faster by changing how they feel about their body. It may

    prove tempting to try and resolve internal woundedness by changing external

    appearance, but an adolescent is likely to experience regret after transition if

    the internal woundedness is not first addressed through the therapeutic

    process.


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137. Trauma can be due to a number of different experiences. Trauma arises when

      there is a “failure of the natural physiologic activation and hormonal

      secretions to organize an effective response to threat.” In early childhood

      development, the orbitofrontal and limbic structures in the brain mature in

      response to the caregiver. Dysfunctional associations in this relationship

      between caregiver and child result in permanent physicochemical and

      anatomical changes which impact the child’s developing personality and

      behaviors. Children who have been exposed to ongoing stress lose the ability

      to use their own emotions to guide effective actions. They often cannot

      recognize their own feelings, and so they are not able to respond appropriately

      to stressors. The inability to identify emotional states also often affects the

      child’s ability to recognize others’ emotions. Due to difficulty in regulating

      their own internal state, they become very reactive to their environment. They

      respond with emotion and impulsivity, behaviors that are often an

      externalization of the chaos and stress they feel inside. (Trauma Recovery

      Institute)

138. Trauma can occur outside the parent-child relationship. Exposure to domestic

      violence, abuse, neglect, animal abuse, poverty, substance abuse, bullying,

      disasters, loss of a loved one, or parental illness can cause similar

      psychological and physiological responses in children.        Some forms of


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     trauma, particularly interpersonal trauma and abuse, place children and other

     survivors at increased risk of future trauma because past experiences of

     victimization are associated with an increased risk of subsequent

     victimization. (Jaffe 2019)

139. Trauma can cause:

          Loss of self worth

          Heightened Reactivity (e.g., explosivity and anger outbursts)

          Hyperarousal

          Withdrawal from others or avoidance

          Difficulty with trusting others

          Shame

          Loss of danger cues

          Loss of a sense of self

          Poor self-esteem

          Hypervigilance

          Confusion or feelings of being lost

          Depression and anxiety

          Impulsivity

          Negative body image and desire to hide body or change appearance

          Oversexualized behavior or sexual avoidance
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           Dissociation

           Hallucinations or Re-experiencing

           Flooding

           Frequent somatic symptoms

           Enuresis (bedwetting)/encopresis (soiling)

           Body inflammation or repeated infections, autoimmune problems

140. Trauma impacts every system in the body: gastrointestinal, genitourinary,

      endocrine, cardiovascular, neurologic, and immune systems. (Heim 2008)

      With regard to neurodevelopment, functional neuroimaging of children and

      adolescents exposed to maltreatment has shown executive, attentional, and

      affective emotional dysregulation. (Mueller 2010).

141. Children do not generally disclose trauma on initial assessment. Disclosure

      can take months and sometimes years. Children must experience safety

      within the therapeutic relationship, which takes time and patience to establish.

      As therapy continues, children will disclose trauma when they feel safe

      enough to do so and trust the examiner’s response.

142. Trauma treatment (psychodynamic therapy and trauma focused cognitive

      behavioral therapy) focuses on a) education surrounding trauma; b)

      identification of feelings and emotions; c) understanding safety and practicing

      mindfulness, relaxation, and the ability to calm the sympathetic nervous

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      system; d) exploration and processing of the trauma and its effects through a

      trauma narrative in a safe therapeutic setting; e) harnessing family/loved one

      support and validation; f) clarification where appropriate; g) building a

      healthy self-concept; h) a reorientation to the environment through awareness

      that trauma can impact all arenas of life; and i) continued support. The goal

      in recovery is for the individual to heal emotionally, to have internal and

      external ability to self-regulate and respond to stress appropriately, and to be

      able to engage in relationships in a healthy fashion. This type of treatment

      takes time, as there must be patient-therapist rapport and adequate trust laid

      down as a foundation.

143. Due to the effects of trauma on all bodily systems, and its effects on self-

      concept and body image and appearance, it is critical to realize that it can

      contribute to gender dysphoria. Explorative (psychodynamic) therapy and

      Trauma Focused Cognitive Behavioral Therapy is important to help the

      patient identify, process, and work through trauma in order to ensure that the

      patient is not experiencing gender incongruence due to the trauma itself. This

      information is valuable to patients as they navigate and chart their own courses

      through their unique, individual processes of healing and growth.

144. Research suggests relatively higher levels of reported trauma among children

      with gender dysphoria and among transgender and gender-nonconforming


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     adults. In one study that considered relational trauma up to age 14 within

     primary relationships:

            Results showed that 10% of GD participants had not experienced
            any early adversity, 13% had experienced one form of trauma,
            8% had experienced two forms, 13% had experienced three
            forms and 56% had experienced four or more forms. In the
            control group, 30% of participants had not experienced any form
            of trauma, 37% had experienced one form of trauma, 16% had
            experienced two forms, 9% had experienced three forms and 7%
            had experienced four or more forms.

     (Giovanardi 2018) Another study reported similar findings. (Schnarrs 2019)

145. Timely and compassionate assessment, diagnosis, and trauma-informed

     treatment is likely to meaningfully improve long-term outcomes for children

     with gender dysphoria, whether they come to identify with their natal sex or

     whether they persist in their transgender identity.

146. It has been my clinical experience that when youths with gender dysphoria

     are treated with psychodynamic therapy, and a history of trauma is identified

     and subsequently treated, gender dysphoria often remits or resolves. In other

     cases, youths have gained clarity about how trauma has affected them and can

     move forward as adults with the ability to make mindful decisions

     surrounding gender dysphoria treatments. Each of these children deserves the

      option to achieve this clarity, treatment, education, and support, regardless of

     which options they ultimately choose.

147. Because actual patient cases cannot be discussed in this report, I have
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    provided four hypothetical situations based on my experiences to illustrate

    how trauma affects gender incongruence and gender dysphoria, and when

    treated, can result in its resolution or provide clarity for future treatment

    decisions.

       a. A female teen describes gender dysphoria. She wants to be called

          “she/her” and not change pronouns yet because she is worried that her

          grandmother may find out about her gender dysphoria and be angry.

          On initial assessment, it becomes clear that she experienced maternal

          abandonment at a young age.

          Over the course of therapy, she says has a vivid recollection of her

          mother leaving her at her grandmother’s home and not returning. Her

          grandmother is emotionally and physically abusive toward her often

          and a child protective report has to be filed. She has remarkable

          difficulty in trusting others and isolates herself socially due to fear of

          not being accepted. She has been bullied by female peers. She says

          that she is unsure of others’ responses and fears rejection. Inside, she

          feels persistently anxious, struggles to enjoy normal activities for girls

          her age, and describes feeling uneasy. She expresses that she identifies

          as male. When her perception of gender roles is explored further, she

          talks about women being angry, uncaring, and harsh. She describes


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          wishing she’d had a father who had protected her and kept her safe. She

          says she always thinks about how she could have kept herself safe and

          struggles with guilt and shame associated with the abuse because she

          believes she allowed it to happen.

          As trauma-focused treatment is provided, she learns about the effects

          of trauma and what emotions survivors struggle with. After working

          through her trauma narrative, she realizes that her identification with

          male gender is due to an unconscious desire to protect herself from

          abuse, and to be strong enough to “fight it,” and to not feel anything in

          common with the females in her life who have been neglectful, abusive,

          and wounding.       This conscious awareness allows her to begin

          recovering. She learns new ways to feel in control and safe and learns

          to identify her feelings and process them and use logic alongside

          emotion in decision making and in relationships. Over the course of

          many months, and ongoing support and psychodynamic therapy, she

          realigns with her natal sex. She says she feels safe and in control of her

          own body now.

       b. A male teen is nonbinary and prefers to be called “they/them.” On

          initial assessment, they report having been bullied at school and not

          fitting in since a very young age. They have suffered from ADHD


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          related impulsivity and reactivity and often got in trouble in elementary

          school. Peers were unkind and often refused to eat with them at lunch

          or play with them at recess. Due to ADHD medication side effects,

          they reported being very thin and feeling awkward. As other kids

          developed and boys became more athletic, and girls developed breasts,

          they described feeling uncomfortable in their body because they

          remained thin, lanky, and of short stature through middle school. Last

          year, while being online playing video games, they met a couple of

          transgender peers online. They began to get to know one another and

          establish friendships. This was the first time they felt connected and

          safe. Engagement with them during daily gaming became routine, and

          they got to know one another and built friendships. They began to learn

          more about gender incongruence online and began to feel that they were

          nonbinary and that maybe this was why they never fit it and felt so

          anxious socially. They discussed this with their friends online, and

          friends supported gender exploration and made statements that they

          “knew the feeling” and “were there for them.”

          In exploratory therapy, they discuss several incidences of bullying that

          were traumatic and caused marked emotional harm. Trauma focused-

          therapy is initiated, and they are able to bring to conscious awareness


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          past feelings of being trapped, of being unwanted, being unworthy, and

          being unloved by others. They also identify fear of bodily harm due to

          bullying and wanting to go unnoticed by peers at school to preserve a

          sense of safety. As they learn ways to identify and work through the

          intense emotion that accompanies memories of past trauma, they begin

          to realize that being gender nonbinary has allowed them to feel safer.

          It has been a way to describe a deep feeling of discomfort with their

          own body and a feeling of being different.          Having made strong

          friendships with transgender peers who also had gone through similar

          feelings, they realize that identifying as nonbinary allowed them to also

          feel closer to their friends. Over time, they begin to feel more positively

          about their own self-concept and friendship making ability, and to use

          coping skills to work through memories of past trauma. They begin to

          want to be referred to as “he” and describe realigning with natal sex.

          He is able to process and understand trauma and its impact on feelings

          about bodily appearance, bodily safety, and a need for secure

          relationships.

       c. A female teen has gender dysphoria. She describes wanting to be called

          “he/him.” He talks about wanting to medically transition and denies

          any past history of psychiatric issues. He describes having a good


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          relationship with his mom, and not knowing where his father is, who

          left their home when he was ten years old. He describes having a

          history of urinary tract infections, enuresis (bedwetting), and

          constipation.   Medical records are consistent with his description.

          Throughout early therapy, he talks about his relationship with his

          mother and how she is dating someone new. He says he doesn’t mind,

          but becomes more uncomfortable when mom’s partner moves in. He

          begins to have difficulty with sleep, and his mother reports that he is

          very reactive and at times hostile toward her partner. He begins to have

          enuresis again and also stomachaches.

          Over the course of therapy, he eventually discloses that his father had

          touched his (female) privates several times and shown him naked

          pictures of girls. Trauma-focused therapy is initiated. He learns about

          trauma, its impacts, and normal feelings that children experience when

          victimized. He learns how to calm himself and self-regulate intense

          emotion through progressive muscle relaxation and deep breathing. He

          engages in developing a trauma narrative and is able to detail what

          happened to him over the upcoming many weeks. He talks about past

          fear of his father that turned into rage and fantasies of fighting his father

          and making sure that he could never harm anyone again. This brings


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          to his conscious awareness that identifying as male allowed him to feel

          power over his abuser and to feel a sense of control. When thinking of

          being in a male body, he felt safer, and he didn’t have to feel the fear

          and feeling of being trapped that he used to in a female body. Over the

          course of a couple of years, as he begins to recover from the sexual

          trauma he’d suffered, through ongoing therapy and support, he begins

          to come in wearing female clothes. He wants to be called “she/her” and

          says that she feels more comfortable being female now. She feels safe

          and in control in her own body.

       d. A male teen is struggling with gender dysphoria and prefers to be called

          by “she/her.” She talks about being raised by her single adoptive

          mother since age four. Her dad was not active in her life. She struggled

          with ADHD and anxiety throughout elementary and middle school.

          She struggled with academics and didn’t feel like she fit in. She began

          experiencing gender dysphoria at the age of eleven when she began to

          develop body hair and sweat and feel “gross.” She talks about male

          features (like her broad shoulders) having made her feel angry when

          she looked in the mirror.

          Through explorative therapy, she began to talk about how she often

          wondered about her birth family and why she was given up. She


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          wondered if she looked like her birth father, and she said this thought

          made her physically ill. She said she’d have panic attacks when looking

          at her shoulders widening and at hair in her armpits and private areas.

          As therapy progressed, she talked about having been told her birth

          father had been in jail and was a drug addict. She wondered if she’d be

          like him, and this caused her to have tremendous anxiety. She is able

          to bring to conscious awareness that she felt more comfortable as a

          female because she didn’t want to grow to up be like her birth father,

          because he abandoned her and was a “criminal.”

          Through additional work with a therapist specializing in adoptions, she

          is able to understand that she suffered trauma as a child due to

          separation from her birth mother, regardless of being moved to a safer

          adopted home. She is able to learn about the feelings that children

          who’ve experienced adoption often go through and understand that her

          feelings are reasonable and normal. She is able to bring to conscious

          awareness that her feelings about not wanting to be like her birth father

          are a normal part of processing her past and considering who she wants

          to be in the future.         She learns from her therapist about

          neurodevelopment and how the adolescent brain is still developing.

          With good support from her family in place, she continues in her social


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           transition, but also continues therapy for support and ongoing

           processing of her stressors. She decides to medically transition as an

           adult, and says she feels her decision making is clearer as she has been

           able to understand her gender identity, come to terms with how trauma

           has affected her, and be confident in her ability to provide informed

           consent as an adult with a lesser risk of regret.

                                  CONCLUSIONS

148. In my clinical experience, informed consent is remarkably difficult with

     minors. Even when prescribing a psychiatric medication, adolescents are

     most often unable to appreciate the long-term risks, nor are they able to

     comprehend the details of full disclosure. I find this is secondary to their

     psychosocial and neurodevelopmental stage of development.             They can

     communicate a choice. They can understand the diagnosis and treatment

     options to an extent.     However, they are less able to comprehend and

     appreciate the implications of the diagnosis and treatment options long term.

     Generally, they are focused on “feeling better” and choosing the treatment

     pathway that leads to feeling better quickly regardless of treatment side effects

     or risks. Once they have identified the path they want to take, they most often

     lose sight of other treatment options that may take longer, though they are just

     as effective at helping them feel well, and with lesser risk. In the setting with


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      outside influences, this push to choose the path with the immediate reward

      while devoting less attention to other options, is even more evident.

149. For this reason, with very rare exceptions, I employ parental consent with

      minor assent in the process of prescribing treatments to minors, and only after

      weighing the risk/benefit ratio of treatment interventions and providing full

      disclosure.

150. If there are insufficient evidence-based benefits to treatment, and if benefits

      do not substantially outweigh risks of treatment, I do not prescribe medication.

151. In the event, that parental consent and minor assent is provided for a

      medication, but there is an issue of the growing child or adolescent’s future

      autonomy being affected, I do not prescribe, unless there is medical necessity

      to treat due to an imminent risk to the child’s safety or to others if the child is

      not treated.

152. Individuals with gender dysphoria deserve compassionate care that is not only

      equitable, but also well thought out, well researched, and well executed. In

      the matter of medical and surgical gender transition in minors, the overarching

      questions I ask myself regarding my own patients and the informed consent

      process, when reviewing all the literature and processing my own clinical

      experience, are:




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      ● Can youths understand, reason through, appreciate, and comprehend all of

         the issues with the present data, the ethical dilemmas that are present, and

         the debate in the medical community?

      ● Can youths appreciate the future risks that medical gender transition

         entails, particularly regarding circumstances that only present later in life

         (like the desire to bear children and breastfeed)?

      ● Can they understand, appreciate, and comprehend the unknown risks of

         treatment on brain maturation?

      ● Can they appreciate and comprehend that there is debate as to whether

         suicidality improves or worsens post-transition?

      ● Can they understand the significance of the paucity of data on de-

         transitioners?

      ● Can parents provide consent (with minor assent) for treatments that affect

         bodily integrity, that are appropriately considered experimental due to lack

         of quality data, that carry marked long-term medical and psychological

         risk, for which long-term safety and efficacy is unproven, and that have

         the potential to create irreversible consequences such as infertility? All for

         the purpose of affirming an identity that has not yet solidified, based on

         what we know about the developing adolescent?

My answer to all these is, “Absolutely not.”

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153. With this context, I draw three primary conclusions:

I.       Informed Consent Is Not Attainable for Medical or Surgical Transition
         in Minors

154. Minors lack decision-making capacity for medical and surgical transition. In

         my opinion, due to a lack of full neurologic, psychosocial, and cognitive

         developmental maturation, adolescents are unable to understand, reason

         through, appreciate, and comprehend the impact of the shortcomings of the

         present data, the lack of FDA indication for puberty blockers, the long-term

         risks and consequences of transition, and the low-grade rating of studies that

         have been used to support medical and surgical transition. Hence, they lack

         decision-making capacity.

155. As discussed in the section above regarding neurodevelopment and

         psychosocial development, when there is perceived reward with one pathway,

         despite long-term risks associated with that pathway, adolescents will

         generally select it rather than consider that there are alternative pathways with

         fewer long-term risks. With medical gender transition, adolescents are likely

         to perceive reward (in this case, reduced dysphoria) with the pathway of

         puberty blockers and cross-sex hormones and hence, they are likely to choose

         this path rather than considering other paths (such as engaging in exploratory

         or supportive therapy, socially transitioning, and waiting until adulthood for

         medical transition). Additionally, as peer and cultural influences are more

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      significant in adolescence, adolescents may make more impulsive decisions

      to pursue medical transition without considering risks. This also factors into

      a capacity judgment.

156. The risks associated with puberty blockers and cross-sex hormones are

      difficult for adolescents to comprehend and appreciate.          First, the near

      certainty of infertility on the transition pathway is likely to not be appreciated

      until the age during which most individuals consider having children. The

      debate over impacts on hormonal shifts, bone density, cardiovascular risk, and

      brain maturation are simply too difficult for minors to grasp. Furthermore,

      effects of transition on more abstract situations that the adolescent may face

      decades later, such as effects on intimate relationships, sexual gratification,

      reproduction, breastfeeding, child rearing, family relationships, and self-

      concept are even more difficult to fully realize. Adolescents have not fully

      developed the ability to appreciate the treatment options in this context of

      “later life”, which is part of decision-making capacity. Their deductive

      reasoning is developing, but not yet complete.

157. Furthermore, while parental consent and adolescent assent is possible for

      other medical interventions, it is insufficient in the matter of gender transition

      in minors. First, the risks to the growing adolescent are remarkable, including

      infertility, irreversible changes to secondary sex characteristics, potential


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      issues with bone density, cardiovascular risks, metabolic function, endocrine

      function, reproductive capacity, psychological and medical health, and brain

      maturation. Second, a parent is unable to determine whether their child will

      realign with his or her natal sex. This presents inherent risk. Third, the present

      data supporting the benefit of transition in adolescence is rated “very low

      quality.” There is no reliable long-term data on safety or efficacy of these

      treatments.

158. For this reason, I believe that parental consent with adolescent assent for

      medical gender transition is problematic and can result in long-term detriment

      to the adolescent that later cannot be reversed. Parental consent may be

      deemed in the short term to be preserving the adolescent’s autonomy by

      prioritizing the adolescent’s desire to self-actualize and reduce dysphoria.

      However, in the long term, there is remarkable intrusion on the growing

      adolescent’s autonomy as an adult. When the adolescent matures to adulthood

      and can’t reverse consequences (e.g., fertility) of interventions that the parent

      consented to without the adolescent having had full capacity to appreciate,

      psychological repercussions are likely to be profound.

159. Regarding other medical diagnoses, where bodily integrity is challenged as a

      result of treatment, such as with cosmetic surgery in minors, informed consent

      has been a central issue.


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160. In 2005, in the AMA Journal of Ethics, pertaining to teens who desire cosmetic

      surgery, authors cited The American Society of Plastic Surgeons statement

      against breast augmentation for patients under 18.           In the absence of

      longitudinal research, they said,

            [I]t is impossible for physicians to warn patients, or their parents,
            about the risks of performing cosmetic surgery on bodies that
            have not reached maturation, the operative complications and
            long term physical effects of these surgeries and the
            psychological implications of surgery on developing body
            image, or the extent to which distorted body image common
            among adolescence may result in the pursuit of plastic surgery.

(Zuckerman 2005)

161. During the FDA hearings on breast augmentation, several physicians noted

      that obtaining meaningful informed consent from teenagers and their parents

      can often be difficult. According to one speaker, this difficulty is largely

      related to the fact that the kind of information being given to potential breast

      implant surgery patients is largely “probabilistic information” and

      “probabilistic thinking is the most abstract kind of thinking and the last one to

      develop in the range of skills and capacity that we have.” Several physicians

      in attendance agreed.     Dr. Charles Bailey noted that, “with respect to

      interacting with the patients, it’s not uncommon to be sitting in front of a very

      young patient where you feel like nothing that you’re saying is being heard.”

      This is the exact sentiment echoed by physicians who are opposed to medical


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      and surgical gender transition in minors, an area in which data is even more

      controversial and the long-term risks of far greater magnitude. (Cohen

      Cooper 2014)

162. Furthermore, within my own clinical experience, I cannot envision a

      circumstance with my own patients wherein parental consent and minor assent

      would be sufficient for medical or surgical gender transition based on the

      above explanation. The justification of imminent risk to the child’s safety or

      others around the child is not present. Additionally, not only could proceeding

      to medical or surgical gender transition profoundly affect the child, but also

      the parent-child relationship, which is of remarkable concern to me as a child

      psychiatrist.

II.   A Better and More Compassionate Approach is Provision of Therapy
      Until Adulthood When Consent Can be Provided

163. Gender dysphoria can be a normal part of childhood development, as

      discussed in the section on my clinical experience above. It should not be

      labeled or pathologized, as it is most often transient, making a “watch and

      wait” approach sensible.

164. A compassionate approach to gender dysphoria in adolescents entails: a

      comprehensive assessment, individual and family therapy, and harnessing a

      support network for the patient. I have used this approach for years and have

      found it to be beneficial and far less risky. The child patients I’ve treated that

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      meet criteria for gender dysphoria realign with their birth sex with maturation

      (children) and a “watch and wait” approach. Adolescents most often realign

      with their natal sex with maturation, therapy, and support. Further, my patients

      who have decided to transition as adults have been grateful that they waited

      and that therapy helped them to be sure of their choice. They have felt

      positively about their decision-making capacity as adults.

165. This approach takes into consideration that medical and psychological risks

      are far too great to risk providing unproven treatment to a substantial number

      of minors who would otherwise realign with their natal sex.

166. Additionally, this compassionate approach adheres to ethical standards in the

      field of medicine, while medical and surgical transition for minors,

      individually and in combination, substantially risks violating those standards.

167. As an example, beneficence requires that the physician actively promote the

      welfare of the patient and protect the patient from harm. Regardless of

      positive intentions to provide relief for the minor with gender dysphoria, when

      a physician is seeking to use controversial treatments for a diagnosis 1) that

      has an increasing prevalence 2) for which contributing factors have not yet

      been adequately identified 3) for which alternative treatment pathways with

      less risk may not have not been well studied 4) that may resolve in children

      without any intervention or respond to very low risk supportive interventions


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      in adolescence and 5) could be intertwined with co-occurring conditions that

      could be treated with low risk interventions first, there should be concern over

      whether the physician violates the standards of beneficence and

      nonmaleficence. That is especially true when the risky treatments 1) have

      marked effects on a minor’s bodily integrity, 2) carry significant long-term

      risks, 3) are unsupported by reliable long-term data about safety and efficacy,

      and 4) are recommended based on evidence deemed to be of very low quality

      by systematic reviews.

168. The physician seeking to recommend medical transition to a minor also risks

      violating the principle of informed consent, considering the minor patient

      lacks decision-making capacity.

169. If all of the above issues of debate and controversy have not been fully

      disclosed to the minor patient, and comprehended, the standard of truth telling

      is also not met.

170. And, lastly, the standard of distributive justice may be violated if the minor

      patient has not been meaningfully offered available resources such as

      exploratory therapy, family therapy, and supportive mental health care that

      may be offered to others in this same situation, given these are low in risk and

      likely high in benefit.




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III.   SB184 Appropriately Protects Minors

171. Individuals with gender dysphoria deserve compassionate care that is not only

       equitable, but also well thought out, well researched, and well executed.

172. They deserve to not be subjected to experimental treatments that, to date, lack

       high-quality studies, long-term outcome measures, and proven psychological

       benefit. Instead, they should all be afforded well-researched options that entail

       less risk and are more likely to be effective. They should also receive the time

       and patience and ongoing support necessary in order to pursue those options.

173. They deserve to have methodologically and scientifically sound research

       conducted on all possible pathways of treatment, so that they can make well

       informed decisions as adults about which pathway of treatment they’d like to

       choose.

174. They deserve to be supported, cared for, and shown that they are valued, as

       all individuals should.

175. Minor patients with gender dysphoria deserve to be treated with respect for

       their vulnerability and their stage of development, which makes them unable

       to provide informed consent. They deserve for their future autonomy to be

       protected.

176. While their immediate desire for relief needs to be addressed, they also need

       their desire for long-term happiness honored, as growing members of society.


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     They deserve to have the capacity to make their own decisions about

     treatments that would systemically alter their bodies and thereby affect their

     future relationships, their ability to have children, their ability to breastfeed,

     their ability to experience and feel positively about sexual intimacy, and their

     ability to feel well about themselves. This capacity cannot be reached until

     adulthood.




Geeta Nangia



May 22, 2023




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                    APPENDIX A. TRIADIC MODEL OF NEUROBIOLOGY




Figure 2
Published in Annual Review of Psychology 2015
Beyond simple models of self-control to circuit-based accounts of adolescent
behavior.
B. Casey




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  APPENDIX B. ADOLESCENT FMRI STUDIES WHEN PRESENTED WITH REWARD




Figure 4
Published in Annual Review of Psychology 2015
Beyond simple models of self-control to circuit-based accounts of adolescent
behavior.
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Figure 5
Published in Annual Review of Psychology 2015


Beyond simple models of self-control to circuit-based accounts of adolescent
behavior.




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     APPENDIX C. CROSS TALK BETWEEN THE PFC AND VENTRAL STRIATUM




              FIGURE 3
Published in Annual Review of Psychology 2015
Beyond simple models of self-control to circuit-based accounts of adolescent
behavior.
B. Casey




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      APPENDIX D. ERIKSON’S PSYCHOSOCIAL DEVELOPMENT MODEL




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